      Case 2:18-mc-51358-BAF ECF No. 9 filed 11/02/18                  PageID.143       Page 1 of 1
                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                                              Misc. No. 18-mc-51358

vs.                                                              HON. BERNARD A. FRIEDMAN

JUMANA NAGARWALA, et al.,

      Defendants.
_____________________________/

   ORDER GRANTING MOTIONS OF AHA FOUNDATION, EQUALITY NOW,
WESPEAKOUT, SAHIYO, AND SAFE HANDS FOR GIRLS TO FILE AMICUS BRIEFS

                 This matter is presently before the Court on the motions of AHA Foundation,

Equality Now, WeSpeakOut, Sahiyo, and Safe Hands for Girls to file amicus briefs [docket

entries 2 and 4] in United States v. Nagarwala, 17-cr-20274 (E.D. Mich.). Defendants have

filed responses in opposition and the amici have replied. The government has not responded.

In its discretion, and pursuant to Fed. R. App. P. 29, the Court shall permit the two amicus briefs

to be filed. And while the Court shall not permit the amici to participate in the oral argument on

defendants= motion to dismiss, they, like all members of the public, are welcome to attend the

hearing and observe.

                 SO ORDERED.

                                                    s/Bernard A. Friedman
Dated: November 2, 2018                             BERNARD A. FRIEDMAN
Detroit, Michigan                                   SENIOR U.S. DISTRICT JUDGE



                                    CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or party of
record herein by electronic means or first-class U.S. mail on November 2, 2018.
                                                    s/Johnetta M. Curry-Williams
                                                    Case Manager
